Case 1:22-cr-20019-BB Document 58 Entered on FLSD Docket 04/01/2022 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SO U TH ER N D ISTR IC T O F FLO R IDA
                             CA SE N O .22-C R -20019-B LO O M


 UNITED STATEjoFAMERICA
 VS.

 JESU S AN D RE S C ALL E-BA LBIN ,

        Defendant.
                                   /


                                    FA C TUA L PR O FFER

         Defendant,JESUSANDRESCALLE-BALBIN (hereinafterreferredtoasço efepdanf),
 hiscolm sel,and the United States agree that,had thiscase proceeded to trial,the United States

 would have proven beyond a reasonable doubt,the following facts pertairling to conspiracyto

 possesswithintenttodistributefivekilogrnmsormoreofcocainewhileonboardavesselsubject
 tothejurisdiction oftheUnited States,andpossessionwithintentto distributefivekilogrnmsor
 moreofcocaine,whileonboardavesselsubjecttothejurisdictionoftheUnitedStates,inviolation
 of46U.S.C.j70503(a)(1)and46U.S.C.j70506(b).

               On oraboutDecember6,2021,aDutch DH-8 MaritimePatrolAircraft(MPA)
 locatedago-fastvessel(GFV)approximately 145nauticalmilesnorth ofLaGuajira,Colombia
 in internationalwatersand uponthehigh,seaswithtveeindividualsonboard.TheHNLMS
 HOLLAND,which wasin theareawithU.j.Law EnforcementDetachment(LEDET)109 on
 board,was diverted to investigate. Once in the vicinity,the HNLM S HOLLAND latmched its

 helicopterand sm allboatwithboarding team .Upon arrivalatthesceneoftheGFV,theboarding

 team reported three people on board who w ere lateridentitied asCA RLO S D ANIEL CAN ARIO -

 V ILO M AR ,JESU S CA LLE-BA LBIN ,and JOSE AN TON IO CAN A RIO-VILOM AR .O ne of
                Case 1:22-cr-20019-BB Document 58 Entered on FLSD Docket 04/01/2022 Page 2 of 2
        H




                    thedefendantsm ade averbalclaim ofDominican Republicnationality fortheGFV . Based on

                    thisclaim ,the governmentofthe Dom inican Republic wascontaded, butadvised itcould not

                    confinn nor deny registration of the vessel. Due to this response from the Government of

                    Dom inican Republic,the GFV wastreated as a vesselwithoutnationality, therefore,subjectto

                    theUnited States'jurisdiction.
                                  Upon boarding the GFV,USCG oftk ers located a totalofnineteen 19 balesand

                    tllreeindividualpackagesfrom the GFV which field tested positive forthe presence of cocaine.

                ' The totalweightofsuspeded cocainethatw asrecovered asaresultofthisinterdiction exceeded

                    fivekilogrnm s.
Kw '.                       3.    The volum e and packaging of the narcotics in this case, as well as the m eans of
            '
                    transportation,are allconsistentwith the intentto distribute.

                                                         JU AN AN TON IO G ON ZA LEZ
                                                         U N ITED STA TES A TTO RN EY
                -
                 !...
                    w. .-


                    Date:        t 21            B                                  h
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                    Date:àl3l/1L.                By:
                                                                          S CALLE-BA LBIN
                                                         D     N IM N T




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